                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

TROY G. HAMMER,
          Plaintiff,                                 Case No.: 21-CV-1183


vs.

TODD HAMILTON, et al.
          Defendants.

                                  MOTION TO WITHDRAW

       Attorney James P. Scoptur of Aiken & Scoptur, S.C., hereby submits this motion to

withdraw as pro bono counsel for plaintiff, Troy Hammer. The basis for the motion is that the

full scope of mediation representation was not provided before agreeing to be counsel, and

counsel does not have the time currently to provide the amount of attention this case requires.



Dated this 9th day of September 2022.

                                                     AIKEN & SCOPTUR, S.C.


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